                                                              United States Bankruptcy Court
                                                              Western District of Washington
In re:                                                                                                                 Case No. 22-10270-CMA
Karie A Simmons                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0981-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Feb 18, 2022                                               Form ID: ntcdefi                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 20, 2022:
Recip ID                  Recipient Name and Address
db                      + Karie A Simmons, 11127 NE 162nd St, Bothell, WA 98011-6211

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 20, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 18, 2022 at the address(es) listed
below:
Name                               Email Address
Jason Wilson-Aguilar
                                   courtmail@seattlech13.com

United States Trustee
                                   USTPRegion18.SE.ECF@usdoj.gov


TOTAL: 2




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Form ntcdefi (07/2021)
                                    UNITED STATES BANKRUPTCY COURT
                                            Western District of Washington
                                             700 Stewart St, Room 6301
                                                 Seattle, WA 98101


In Re:       Karie A Simmons                                          Case No.: 22−10270−CMA
             Debtor(s).                                               Chapter: 13


                                         NOTICE OF DEFICIENT FILING

                                           FOR INDIVIDUAL DEBTORS



NOTICE IS HEREBY GIVEN TO THE DEBTOR(S) that the above referenced case, filed on February 18, 2022,
contains one or more filing deficiencies which must be corrected. Failure to cure the deficiencies on or before the
deadline(s) stated below may result in the dismissal of this case without further notice.
Additional information, rules and forms may be obtained from the court's website at www.wawb.uscourts.gov.

REQUIREMENTS UNDER THIS SECTION ARE DUE BY:                            February 25, 2022

Creditor list in format required by the court




REQUIREMENTS UNDER THIS SECTION ARE DUE BY:                            March 7, 2022


Summary of Your Assets and Liabilities and Certain Statistical Information − Individual
Schedules A/B thru J
Statement of Financial Affairs
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
Chapter 13 Plan



CREDIT COUNSELING REQUIREMENT:

This requirement has been satisfied


PAYMENT OF FEES:

Visit the court's website at www.wawb.uscourts.gov to pay filing fees online or mail a cashier's check or money
order, made payable to the U.S. Bankruptcy Court, to the address provided above. Personal checks and bill pay
checks tendered for payment of filing fees will not be accepted from Debtors.



DATED: February 18, 2022
                                                           Mark L. Hatcher
                                                           Clerk of the Bankruptcy Court




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